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                                 UNITED STATES DISTRICT COURT
                                            DISTRICT OF GUAM
------------------------------------------------------------------------x

Arnold Davis, on behalf of himself and all others                      :
similarly situated,
                                                                       :
        Plaintiff,                                                          Civil Case No.: 11-00035
                                                                       :
      v.                                                                    MOTION FOR SUMMARY
Guam, Guam Election Commission, et al.,                                     JUDGMENT PURSUANT
                                                                       :    TO FED. R. CIV. P. 56(a)

        Defendants.                                                    :

------------------------------------------------------------------------x

                     PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

        COMES NOW the Plaintiff, Arnold Davis, and files this Motion for Summary Judgment.
Mr. Davis hereby respectfully moves this Court for a judgment pursuant to Rule 56(a) of the




              Case 1:11-cv-00035 Document 103 Filed 10/30/15 Page 1 of 3
Federal Rules of Civil Procedure, declaring the qualifications for voter eligibility in the Political

Status Plebiscite (“the Plebiscite”) required by 1 Guam Code Ann. § 2110, et seq., to be in violation

of the Fourteenth and Fifteenth Amendments to the United States Constitution, the Voting Rights

Act, and the Organic Act, and enjoining the same.

Respectfully submitted,
                                      ____________/s/ J. Christian Adams________
                                                  J. Christian Adams
                                                  Counsel for Plaintiff
Date: October 30, 2015

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            Case 1:11-cv-00035 Document 103 Filed 10/30/15 Page 2 of 3
                                  CERTIFICATE OF SERVICE

          I hereby certify that I have served a copy of the forgoing Plaintiff’s Motion for Summary

Judgment on counsel for the Defendants by filing the same through the Electronic Case Filing

System on October 30, 2015, which provides an electronic copy of the same to all counsel of

record.

                                       _____________/s/ J. Christian Adams___________
                                                   J. Christian Adams
                                                   Counsel for Plaintiff




              Case 1:11-cv-00035 Document 103 Filed 10/30/15 Page 3 of 3
